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                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                      :       CASE NO.: 3:06CR0177(2)

       Plaintiff,                             :       Judge Thomas M. Rose

               v.                             :

CHRISTOPHER TODD ROSE                         :

       Defendant.                             :

                       AMENDED FINAL ORDER OF FORFEITURE

       WHEREAS, on March 19, 2007, this Court entered a Preliminary Order of Forfeiture,

ordering the forfeiture of the Defendant’s interest in the following properties:

       a.      1967 Oldsmobile F-85 Station Wagon, VIN 336357Z105749
               CATS No. 06-DEA-470234

       b.      1966 Oldsmobile F-85 Station Wagon, VIN 336356M341107,
               CATS No. 06-DEA-470236

       c.      Assorted Jewelry, CATS No. 06-DEA-470245
               1.     Ladies’ Diamond Solitaire Engagement Ring and Wedding Guard
               2.     Ladies’ Diamond Wedding Set
               3.     3 Stone Diamond Ladies’ Pendant with Gold Rope Chain
               4.     Ladies’ Diamond Engagement Ring
               5.     Ladies’ Diamond Engagement Ring
               6.     3 - Diamond Earring Studs
               7.     Diamond Freeform Earrings

       d.      1967 Oldsmobile 442, VIN 338177Z112899, CATS No. 06-DEA-470226

       e.      1967 Oldsmobile F-85 Station Wagon, VIN 334357M383852,
               CATS No. 06-DEA-470235

       f.      1967 Oldsmobile Vista Cruiser, VIN 338657M114263,
               CATS No. 06-DEA-470238

       g.      Brister’s TW11 Trail Wagon, VIN BDMVTXH1E6A05234A,

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               CATS No. 06-DEA-470243

       h.      2006 Dixie Chopper 50582 Coatsville lawn mower, VIN 60653921,
               CATS No. 06-DEA-470244;

       WHEREAS, the United States caused to be published in The Daily Court Reporter, a

newspaper of general circulation, notice of this forfeiture and of the intent of the United States to

dispose of the property in accordance with the law and further notifying all third parties of their

right to petition the Court within thirty (30) days for a hearing to adjudicate the validity of their

alleged legal interest in the property; and

       WHEREAS, no timely claim has been filed; and

       WHEREAS, the Court finds that defendant had an interest in the property that is subject

to forfeiture pursuant to 21 U.S.C. §853(a);

       NOW THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

the following property is hereby forfeited to the United States of America pursuant to 21 U.S.C.

§853(a):

       a.      1967 Oldsmobile F-85 Station Wagon, VIN 336357Z105749
               CATS No. 06-DEA-470234

       b.      1966 Oldsmobile F-85 Station Wagon, VIN 336356M341107,
               CATS No. 06-DEA-470236

       c.      Assorted Jewelry, CATS No. 06-DEA-470245

               1.      Ladies’ Diamond Solitaire Engagement Ring and Wedding Guard
               2.      Ladies’ Diamond Wedding Set
               3.      3 Stone Diamond Ladies’ Pendant with Gold Rope Chain
               4.      Ladies’ Diamond Engagement Ring
               5.      Ladies’ Diamond Engagement Ring
               6.      3 - Diamond Earring Studs
               7.      Diamond Freeform Earrings

       d.      1967 Oldsmobile 442, VIN 338177Z112899, CATS No. 06-DEA-470226


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       e.      1967 Oldsmobile F-85 Station Wagon, VIN 334357M383852,
               CATS No. 06-DEA-470235

       f.      1967 Oldsmobile Vista Cruiser, VIN 338657M114263,
               CATS No. 06-DEA-470238

       g.      Brister’s TW11 Trail Wagon, VIN BDMVTXH1E6A05234A,
               CATS No. 06-DEA-470243

       h.      2006 Dixie Chopper 50582 Coatsville lawn mower, VIN 60653921,
               CATS No. 06-DEA-470244;

       IT IS FURTHER ORDER, ADJUDGED AND DECREED that all right, title and interest

to the property described above is hereby condemned, forfeited and vested in the United States

of America, and shall be disposed of according to law; and

       IT IS FURTHER ORDERED that the United States District Court shall retain jurisdiction

in the case for the purpose of enforcing this Order.


SO ORDERED:
Dated:

October 18, 2007                                       s/THOMAS M. ROSE


                                                       ________________________________
                                                       HONORABLE THOMAS M. ROSE
                                                       UNITED STATES DISTRICT JUDGE




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